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   14
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
   16 VANESSA BRYANT,                            Case No. 2:20-cv-09582-JFW-E
                                                 (Consolidated with 2:20-cv-10844-
   17              Plaintiff,                    JFW-E)
   18        vs.                                 JOINT PROPOSED JURY
                                                 INSTRUCTIONS DURING TRIAL
   19 COUNTY OF LOS ANGELES, et al.,
   20              Defendants.                   Trial Date: August 10, 2022
   21                                            The Honorable John F. Walter
   22 CHRISTOPHER L. CHESTER,
   23              PLAINTIFF,
   24        vs.
   25
        COUNTY OF LOS ANGELES, et al.,
   26
                   Defendants.
   27
   28

                          JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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                         JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1          JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
    2
         No.                Description                        Authority          Page
    3
    4                                                   9th Cir. Man. of Model    3
          12   Cautionary Instructions (undisputed)
                                                        Jury Instr. 2.0
    5
                                                        9th Cir. Man. of Model    5
    6     13   Stipulated Testimony (undisputed)
                                                        Jury Instr. 2.1
    7                                                   9th Cir. Man. of Model    6
          14   Stipulations of Fact (undisputed)
    8                                                   Jury Instr. 2.2
    9                                                   9th Cir. Man. of Model    7
          15   Judicial Notice (undisputed)
                                                        Jury Instr. 2.3
   10
               Deposition in Lieu of Live Testimony     9th Cir. Man. of Model    8
          16
   11          (undisputed)                             Jury Instr. 2.4
   12          Impeachment Evidence—Witness             9th Cir. Man. of Model    9
          17
   13          (undisputed)                             Jury Instr. 2.9
                                                        9th Cir. Man. of Model    10
   14     18   Use of Interrogatories (undisputed)
                                                        Jury Instr. 2.11
   15                                                                             11
          19   Use of Requests for Admissions           9th Cir. Man. of Model
   16          (undisputed)                             Jury Instr. 2.12
   17                                                   9th Cir. Man. of Model    12
          20   Expert Opinion (undisputed)
                                                        Jury Instr. 2.13
   18
               Charts and Summaries Not Received in 9th Cir. Man. of Model        13
          21
   19          Evidence (undisputed)                Jury Instr. 2.14
   20          Charts and Summaries Received in         9th Cir. Man. of Model    14
          22
   21          Evidence (undisputed)                    Jury Instr. 2.15
               Evidence in Electronic Format            9th Cir. Man. of Model    15
   22     23
               (undisputed)                             Jury Instr. 2.16
   23                                                                             17
          59   Limiting Instructions for Exhibit No.    9th Cir. Man. Of Model
   24          317                                      Jury Instr. 1.11
   25          Limiting Instructions for Exhibit Nos.   9th Cir. Man. Of Model    18
          60
               318 and 321                              Jury Instr. 1.11
   26
               Limiting Instructions for Exhibit Nos.   CACI No. 207. Evidence    19
   27     61
               317-19, 321                              Applicable to One Party
   28

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                         JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1    No.                Description                         Authority           Page
    2
                                                         Kevin O'Malley, 3 Fed.      20
    3     62   Effect of Prior Inconsistent Statements
                                                         Jury Prac. & Instr. Section
               or Conduct
    4                                                    105:09 (6th ed.)
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                         JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                               Stipulated Instruction No. 12
    2
                                     Re Cautionary Instructions
    3
        At the End of Each Day of the Case:
    4
               As I indicated before this trial started, you as jurors will decide this case
    5
        based solely on the evidence presented in this courtroom. This means that, after you
    6
        leave here for the night, you must not conduct any independent research about this
    7
        case, the matters in the case, the legal issues in the case, or the individuals or other
    8
        entities involved in the case. This is important for the same reasons that jurors have
    9
        long been instructed to limit their exposure to traditional forms of media information
   10
        such as television and newspapers. You also must not communicate with anyone, in
   11
        any way, about this case. And you must ignore any information about the case that
   12
        you might see while browsing the internet or your social media feeds.
   13
        At the Beginning of Each Day of the Case:
   14
               As I reminded you yesterday and continue to emphasize to you today, it is
   15
        important that you decide this case based solely on the evidence and the law
   16
        presented here. So you must not learn any additional information about the case
   17
        from sources outside the courtroom. To ensure fairness to all parties in this trial, I
   18
        will now ask each of you whether you have learned about or shared any information
   19
        about this case outside of this courtroom, even if it was accidental.
   20
   21
        [ALTERNATIVE 1 (in open court): if you think that you might have done so,
   22
        please let me know now by raising your hand. [Wait for a show of hands.] I see no
   23
        raised hands; however, if you would prefer to talk to the court privately in response
   24
        to this question, please notify a member of the court’s staff at the next break. Thank
   25
        you for your careful adherence to my instructions.]
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                            JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
Case 2:20-cv-09582-JFW-E Document 391 Filed 08/11/22 Page 6 of 25 Page ID #:31926




    1 [ALTERNATIVE 2 (during voir dire with each juror, individually): Have you
    2 learned about or shared any information about this case outside of this
    3 courtroom? . . . Thank you for your careful adherence to my instructions.]
    4
    5
    6 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.0
    7 Claims for Relief: All.
    8 PTCO Cite: § 7(a).
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                          JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                            Stipulated Instruction No. 13
    2                              Re Stipulated Testimony
    3        The parties have agreed what [witness]’s testimony would be if called as a
    4 witness. You should consider that testimony in the same way as if it had been given
    5 here in court.
    6
    7
    8 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.1
    9 Claims for Relief: All.
   10 PTCO Cite: § 7(a).
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                         JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
Case 2:20-cv-09582-JFW-E Document 391 Filed 08/11/22 Page 8 of 25 Page ID #:31928




    1                             Stipulated Instruction No. 14
    2                                Re Stipulations of Fact
    3         The parties have agreed to certain facts [to be placed in evidence as Exhibit
    4 __] [that will be read to you]. You must therefore treat these facts as having been
    5 proved.
    6
    7
    8 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.2
    9 Claims for Relief: All.
   10 PTCO Cite: § 7(a).
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                          JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                             Stipulated Instruction No. 15
    2                                  Re Judicial Notice
    3        The court has decided to accept as proved the fact that [state fact]. You must
    4 accept this fact as true.
    5
    6
    7 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.3
    8 Claims for Relief: All.
    9 PTCO Cite: § 7(a).
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                           JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                               Stipulated Instruction No. 16
    2                        Re Deposition in Lieu of Live Testimony
    3         A deposition is the sworn testimony of a witness taken before trial. The
    4 witness is placed under oath to tell the truth and lawyers for each party may ask
    5 questions. The questions and answers are recorded. [When a person is unavailable
    6 to testify at trial, the deposition of that person may be used at the trial.]
    7          The deposition of [name of witness] was taken on [date]. Insofar as possible,
    8 you should consider deposition testimony, presented to you in court in lieu of live
    9 testimony, in the same way as if the witness had been present to testify.
   10          [Do not place any significance on the behavior or tone of voice of any person
   11 reading the questions or answers.]
   12
   13
   14 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.4
   15 Claims for Relief: All.
   16 PTCO Cite: § 7(a).
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                            JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                            Stipulated Instruction No. 17
    2                        Re Impeachment Evidence—Witness
    3        The evidence that a witness [e.g., has been convicted of a crime, lied under
    4 oath on a prior occasion, etc.] may be considered, along with all other evidence, in
    5 deciding whether or not to believe the witness and how much weight to give to the
    6 testimony of the witness and for no other purpose.
    7
    8
    9 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.9
   10 Claims for Relief: All.
   11 PTCO Cite: § 7(a).
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                          JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                              Stipulated Instruction No. 18
    2                               Re Use of Interrogatories
    3          Evidence [will now be] [was] presented to you in the form of answers of one
    4 of the parties to written interrogatories submitted by the other side. These answers
    5 were given in writing and under oath before the trial in response to questions that
    6 were submitted under established court procedures. You should consider the
    7 answers, insofar as possible, in the same way as if they were made from the witness
    8 stand.
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   11 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.11
   12 Claims for Relief: All.
   13 PTCO Cite: § 7(a).
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                           JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                             Stipulated Instruction No. 19
    2                           Re Use of Requests for Admissions
    3         Evidence [will now be] [was] presented to you in the form of admissions to
    4 the truth of certain facts. These admissions were given in writing before the trial, in
    5 response to requests that were submitted under established court procedures. You
    6 must treat these facts as having been proved.
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    9 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.12
   10 Claims for Relief: All.
   11 PTCO Cite: § 7(a).
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                           JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                             Stipulated Instruction No. 20
    2                                   Re Expert Opinion
    3         You [have heard] [are about to hear] testimony from [name] who [testified]
    4 [will testify] to opinions and the reasons for [his] [her] opinions. This opinion
    5 testimony is allowed, because of the education or experience of this witness.
    6         Such opinion testimony should be judged like any other testimony. You
    7 may accept it or reject it, and give it as much weight as you think it deserves,
    8 considering the witness’s education and experience, the reasons given for the
    9 opinion, and all the other evidence in the case.
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   11
   12 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.13
   13 Claims for Relief: All.
   14 PTCO Cite: § 7(a).
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                           JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                            Stipulated Instruction No. 21
    2                Re Charts and Summaries Not Received in Evidence
    3         Certain charts and summaries not admitted into evidence [may be] [have
    4 been] shown to you in order to help explain the contents of books, records,
    5 documents, or other evidence in the case. Charts and summaries are only as good as
    6 the underlying evidence that supports them. You should, therefore, give them only
    7 such weight as you think the underlying evidence deserves.
    8
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   10 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.14
   11 Claims for Relief: All.
   12 PTCO Cite: § 7(a).
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                          JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                             Stipulated Instruction No. 22
    2                  Re Charts and Summaries Received in Evidence
    3         Certain charts and summaries [may be] [have been] admitted into evidence to
    4 illustrate information brought out in the trial. Charts and summaries are only as
    5 good as the testimony or other admitted evidence that supports them. You should,
    6 therefore, give them only such weight as you think the underlying evidence
    7 deserves.
    8
    9
   10 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.15
   11 Claims for Relief: All.
   12 PTCO Cite: § 7(a).
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                          JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                              Stipulated Instruction No. 23
    2                           Re Evidence in Electronic Format
    3         Those exhibits received in evidence that are capable of being displayed
    4 electronically will be provided to you in that form, and you will be able to view
    5 them in the jury room. A computer, projector, printer and accessory equipment will
    6 be available to you in the jury room.
    7          A court technician will show you how to operate the computer and other
    8 equipment; how to locate and view the exhibits on the computer; and how to print
    9 the exhibits. You will also be provided with a paper list of all exhibits received in
   10 evidence. You may request a paper copy of any exhibit received in evidence by
   11 sending a note through the [clerk] [bailiff].) If you need additional equipment or
   12 supplies or if you have questions about how to operate the computer or other
   13 equipment, you may send a note to the [clerk] [bailiff], signed by your foreperson or
   14 by one or more members of the jury. Do not refer to or discuss any exhibit you
   15 were attempting to view.
   16          If a technical problem or question requires hands-on maintenance or
   17 instruction, a court technician may enter the jury room with [the clerk] [the bailiff]
   18 present for the sole purpose of assuring that the only matter that is discussed is the
   19 technical problem. When the court technician or any nonjuror is in the jury room,
   20 the jury shall not deliberate. No juror may say anything to the court technician or
   21 any nonjuror other than to describe the technical problem or to seek information
   22 about operation of the equipment. Do not discuss any exhibit or any aspect of the
   23 case.
   24          The sole purpose of providing the computer in the jury room is to enable
   25 jurors to view the exhibits received in evidence in this case. You may not use the
   26 computer for any other purpose. At my direction, technicians have taken steps to
   27 ensure that the computer does not permit access to the Internet or to any “outside”
   28 website, database, directory, game, or other material. Do not attempt to alter the

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                           JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1 computer to obtain access to such materials. If you discover that the computer
    2 provides or allows access to such materials, you must inform the court immediately
    3 and refrain from viewing such materials. Do not remove the computer or any
    4 electronic data [disk] from the jury room, and do not copy any such data.
    5
    6
    7 Source: Ninth Circuit Manual of Model Civil Jury Instructions, No. 2.16
    8 Claims for Relief: All.
    9 PTCO Cite: § 7(a).
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                          JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                             Stipulated Instruction No. 59
    2                     Re Limiting Instructions for Exhibit No. 317
    3         Members of the Jury, I am admitting Exhibit No. 317 for the limited purpose
    4 of showing that the statements contained in that exhibit were made to Mrs. Bryant and
    5 for the effect on Mrs. Bryant. You must consider this evidence only for that limited
    6 purpose, and not for the truth of any statements in the exhibit.
    7
    8
        Source: 9th Cir. Man. Of Model Jury Instr. 1.11
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        Claims for Relief: All.
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        PTCO Cite: § 7(a).
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                           JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                             Stipulated Instruction No. 60
    2                Re Limiting Instructions for Exhibit Nos. 318 and 321
    3         Members of the Jury, I am admitting Exhibit Nos. 318 and 321. The statements
    4 “Head” and “Both legs with knees in the air,” contained in that exhibit, are admitted
    5 for the limited purpose of their effect on Mrs. Bryant. You must consider those
    6 statements only for that limited purpose, and not for the truth of those statements.
    7
    8
        Source: 9th Cir. Man. Of Model Jury Instr. 1.11
    9
        Claims for Relief: All.
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        PTCO Cite: § 7(a).
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                           JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                           Stipulated Instruction No. 61
    2             Re Limiting Instructions for Exhibit Nos. 317-19 and 321
    3        Members of the Jury, Exhibits Nos. 317-319 and, 321 may be considered only
    4 as to Plaintiff Vanessa Bryant. You may not consider that evidence as to Plaintiff
    5 Christopher Chester.
    6
    7 Source: CACI No. 207. Evidence Applicable to One Party
    8 Claims for Relief: All.
    9 PTCO Cite: § 7(a).
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                         JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                              Stipulated Instruction No. 62
    2                Re Effect of Prior Inconsistent Statements or Conduct
    3         Evidence that, at some other time while not under oath a witness who is not a
    4 party to this action has said or done something inconsistent with the witness'
    5 testimony at the trial, may be considered for the sole purpose of judging the
    6 credibility of the witness. However, such evidence may never be considered as
    7 evidence of proof of the truth of any such statement.
    8         Where the witness is a party to the case, and by such statement or other
    9 conduct admits some fact or facts against the witness' interest, then such statement
   10 or other conduct, if knowingly made or done, may be considered as evidence of the
   11 truth of the fact or facts so admitted by such party, as well as for the purpose of
   12 judging the credibility of the party as a witness.
   13         An act or omission is “knowingly” done, if the act is done voluntarily and
   14 intentionally, and not because of mistake or accident or other innocent reason.
   15
   16
        Source: Kevin O'Malley, 3 Fed. Jury Prac. & Instr. Section 105:09 (6th ed.)
   17
        Claims for Relief: All.
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        PTCO Cite: § 7(a).
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                           JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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                         JOINT PROPOSED JURY INSTRUCTIONS DURING TRIAL
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    1                                FILER ATTESTATION
    2        I, Luis Li, attest under Local Rule 5-4.3.4(a)(2)(i) that all other signatories
    3 listed, and on whose behalf the filing is submitted, concur in the filing’s content and
    4 have authorized this filing.
    5
    6   Dated: August 11, 2022                                     /s/ Luis Li
                                                                     Luis Li
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